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                                                                   Wednesday, 26 June, 2019 05:05:46 PM
                                                                           Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
       Plaintiff,                            )
                                             )
               vs.                           )       Case No. 17-CR-20037
                                             )
BRENDT A. CHRISTENSEN,                       )
                                             )
       Defendant.                            )

      THE UNITED STATES OF AMERICA’S MOTION TO STRIKE OR
   CONSOLIDATE THE DEFENDANT’S PROPOSED MITIGATING FACTORS

       NOW COMES the United States of America, by John C. Milhiser, United States

Attorney for the Central District of Illinois, Eugene L. Miller and Bryan Freres, Assistant

United States Attorneys, and Department of Justice Trial Attorney James B. Nelson, and

hereby requests the court to strike or consolidate certain proposed mitigating factors

alleged by the defendant. The bases for this motion follow. 1

                                         ARGUMENT

       On June 25, 2019, the defendant proposed 59 mitigating factors for the sentencing

phase of trial – far in excess of the number proposed in other federal death penalty




       1 The defendant has also proposed a mitigating factor that the United States has objected
to in previous motions, namely Proposed Factor 38. (R.251). The defendant released this issue
to the public and it has been reported in the press. (R.411, 412). The United States maintains its
objection to this factor, stands on its prior briefing, and requests remedial measures by the
Court. (R.251, 412).
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cases. 2 Most of the defendant’s proposed mitigating factors are excludable under

Supreme Court and Seventh Circuit precedent and/or Federal Rule of Criminal

Procedure 12.2(d).

1.     The Defendant Has Proposed Improper Mitigating Factors That Must Be
       Stricken

       The FDPA specifically addresses the scope of admissible evidence at a penalty

phase hearing in a capital trial. 18 U.S.C. § 3593(c) provides:

       At the sentencing hearing, information may be presented as to any matter
       relevant to the sentence, including any mitigating or aggravating factor
       permitted or required to be considered under section 3592.

       The FDPA itself provides a list of mitigating factors:

       (a)    Mitigating factors. In determining whether a sentence of death is to be
              imposed on a defendant, the finder of fact shall consider any mitigating
              factor, including the following:
              (1)     Impaired capacity. The defendant’s capacity to appreciate the
                      wrongfulness of the defendant’s conduct or to conform conduct to
                      the requirements of law was significantly impaired, regardless of
                      whether the capacity was so impaired as to constitute a defense to
                      the charge.
              (2)     Duress. The defendant was under unusual and substantial duress,
                      regardless of whether the duress was of such a degree as to
                      constitute a defense to the charge.
              (3)     Minor participation. The defendant is punishable as a principal in
                      the offense, which was committed by another, but the defendant’s
                      participation was relatively minor, regardless of whether the
                      participation was so minor as to constitute a defense to the charge.
              (4)     Equally culpable defendants. Another defendant or defendants,
                      equally culpable in the crime, will not be punished by death.



       2For example, Dzhokar Tsarnaev submitted 21 mitigating factors to the jury, and Ronell
Wilson presented 24 mitigating factors to the jury. See United States v. Tsarnaev, Crim. No. 13-
10200-GAO, ECF Dkt. No. 1417 at 16-18; United States v. Wilson, Crim. No. 04-01016-NGG, ECF
Dkt. No. 1437 at 8-11 (Jul. 24, 2013).


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              (5)    No prior criminal record. The defendant did not have a significant
                     prior history of other criminal conduct.
              (6)    Disturbance. The defendant committed the offense under severe
                     mental or emotional disturbance.
              (7)    Victim’s consent. The victim consented to the criminal conduct that
                     resulted in the victim’s death.
              (8)    Other factors. Other factors in the defendant’s background, record,
                     or character or any other circumstance of the offense that mitigate
                     against imposition of the death sentence.

18 U.S.C. § 3592(a). While “[t]he defendant may present any information relevant to a

mitigating factor” (§ 3593(c)), it should be noted that the catch-all provision found in

subsection (8) limits the scope of mitigation evidence to factors in the defendant’s

background, record, or character or any other circumstance of the offense that mitigate

against imposition of the death sentence.

       It is well-settled that courts do not have unlimited authority to permit theories of

mitigation. Rather, valid mitigators must fall within a few select, albeit broadly-

defined, categories set forth in constitutional jurisprudence and codified in the FDPA.

The concept of constitutionally-mandated mitigators originates in Woodson v. North

Carolina, 428 U.S. 280 (1976). The controlling Woodson opinion held North Carolina’s

mandatory death-penalty statute unconstitutional because, inter alia, it “fail[ed] to

allow the particularized consideration of relevant aspects of the character and record of

each convicted defendant.” Id. at 303. The opinion concluded that “consideration of the

character and record of the individual offender and the circumstances of the particular

offense” was “constitutionally indispensable.” Id. at 304.

       Two years later, a plurality of four justices in Lockett v. Ohio addressed what they

perceived as Woodson’s lack of specificity. The Lockett plurality concluded that the

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Eighth Amendment “require[d] that the sentencer . . . not be precluded from

considering, as a mitigating factor, any aspect of a defendant’s character or record and

any of the circumstances of the offense that the defendant proffers as a basis for a

sentence less than death.” Lockett v. Ohio, 438 U.S. 586, 604 (1978) (emphasis original).

The Lockett plurality stressed that it did not intend to “limit[] the traditional authority of

a court to exclude, as irrelevant, evidence not bearing on the defendant’s character,

prior record, or the circumstances of his offense.” Id. at 604 n.12.

       The Supreme Court clarified Lockett four years later: “By requiring that the

sentencer be permitted to focus ‘on the characteristics of the person who committed the

crime,’ the rule in Lockett recognizes that ‘justice . . . requires . . . that there be taken into

account the circumstances of the offense together with the character and propensities of

the offender.’” Eddings v. Oklahoma, 455 U.S. 104, 112, 102 (1982) (quoting Gregg v.

Georgia, 428 U.S. 53, 197 (1976); Pennsylvania v. Ashe, 302 U.S. 51, 55 (1937)). Underlying

Lockett and Eddings is the principle that punishment should be directly related to the

personal culpability of the defendant. Penry v. Lynaugh 492 U.S. 302, 319 (1989),

overruled on other grounds by Atkins v. Virginia, 536 U.S. 304 (2002).

       Applying this framework, federal courts have repeatedly excluded

mitigating factors not relevant to a defendant’s background, record, or character, or

the circumstances of his/her offense. The Sixth Circuit, sitting en banc, held that

“[m]itigation evidence . . . is not an empty concept to be filled by whatever a lawyer

or court thinks might persuade a single juror in a particular case.” United States v.

Gabrion, 719 F.3d 511, 522 (6th Cir. 2013). Similarly, the Second Circuit has held that

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the broad standards for admissibility of mitigating evidence do “not mean that the

defense has carte blanche to introduce any and all evidence that it wishes.” United States

v. Fell, 531 F.3d 197, 219 (2nd Cir. 2008) (affirming exclusion of defendant’s rejected plea

agreement, which would have created a “confusing and unproductive inquiry”).

       Mitigating evidence which shifts the burden of the defendant’s conduct onto a

third-party’s negligence is routinely rejected by the Courts. See Williams v. Norris, 612

F.3d 941, 947 (8th Cir.2010) (correctional expert properly excluded concerning prison

negligence because such evidence was irrelevant given that it did not bear on the

defendant’s character, prior record, or the circumstances of his offense); see also Gabrion,

719 F.3d at 523 (noting that the alleged negligence of other organizations does not in

any conceivable way “mitigate the defendant’s culpability.”) (citing Tennard v. Dretke,

542 U.S. 274, 286 (2004) (original emphasis)); United States v. Williams, No. 06–00079,

2014 WL 2436199 (D. Haw. May 30, 2014) (granting the United States’ motion in limine

to preclude evidence that U.S. Army Child Protective Service was negligent in failing to

protect child victim).

       Moreover, even if evidence of third-party negligence were relevant, its

“probative value is outweighed by the danger of creating unfair prejudice, confusing

the issues, or misleading the jury.” 18 U.S.C. § 3593(c). Section 3593(c) provides the

court with substantial authority to preclude evidence on this ground at the penalty

phase. See United States v. Purkey, 428 F.3d 738, 756 (8th Cir. 2005) (noting that

Section 3593(c) requires a lower standard for exclusion of evidence than FRE 403, which



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requires that the probative value be substantially outweighed by the danger of unfair

prejudice, confusing the issues, or misleading the jury).

       Likewise, the Seventh Circuit has expressly held that “[a] mitigating factor is

a factor arguing against sentencing this defendant to death; it is not an argument

against the death penalty in general.” United States v. Johnson, 223 F.3d 665, 675 (7th

Cir. 2000) (original emphasis); see also Purkey, 428 F.3d at 756-59 (explaining the “trial

court retains its traditional authority to exclude, as irrelevant, evidence not bearing

on the defendant’s character, prior record, or the circumstances of the offense” and

holding trial court did not error in excluding involuntary intoxication evidence, as

well as other proposed mitigating evidence); United States v. Chandler, 996 F.2d 1073,

1086 (11th Cir. 1993) (holding that the “possibility” of receiving a sentence of life

imprisonment without parole did not fall within the Lockett definition of mitigating

factors).

       Several of the factors proposed by the defendant do not relate to his

background, record, character, or the circumstances of his offense. Thus, they have

nothing to do with “a reasoned moral response to the defendant’s background,

culpability, or crime.” Penry, 492 U.S. at 319. Accordingly, this Court should

preclude such factors from being introduced at trial and submitted to the jury in the

special findings form at the conclusion of the Selection Phase.




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       a. Proposed Factors 4 and 5 – Alleged history of mental illness in the
          defendant’s parents’ families

       The speculative, lay opinion testimony regarding the alleged mental health

diagnoses of the defendant’s extended family members does not implicate the

defendant’s background, record, or character, or any other circumstance of the offense.

18 U.S.C. § 3592(a)(8); Lockett, 438 U.S. at 604. To the extent that such evidence exists, its

probative value is both speculative and outweighed by the danger of confusing the

issues or misleading the jury. 18 U.S.C. § 3593(c). “Mitigation evidence       . . . is not an

empty concept to be filled by whatever a lawyer or court thinks might persuade a

single juror in a particular case.” Gabrion, 719 F.3d at 522. These mitigating factors

should be stricken as improper.

       b. Proposed Factors 9, 10, 11, 12, 13, and 14 – The defendant’s mother, father,
          and sister love him, will support him during a life sentence, and will grieve
          if he is executed

       The feelings that the defendant’s family members have about him do not

implicate the defendant’s background, record, or character, or any other circumstance

of the offense. 18 U.S.C. § 3592(a)(8); Lockett, 438 U.S. at 604. Moreover, the Seventh

Circuit requires that mitigating factors be tailored to whether “this defendant [should

be sentenced] to death; it is not an argument against the death penalty in general.”

Johnson, 223 F.3d at 675; see also United States v. Troya, 733 F.3d 1125, 1129 (11th Cir.

2013); United States v. Hager, 721 F.3d 167, 195 (4th Cir. 2013); United States v. Snarr, 704

F.3d 368, 402 (5th Cir. 2013); Stenson v. Lambert, 504 F.3d 873, 892 (9th Cir. 2007); Jackson

v. Dretke, 450 F.3d 614, 617-18 (5th Cir. 2006); United States v. Umana, Case No. 3:08-cr-


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134, 2010 WL 3023498 *15 (W.D.N.C. 2010); United States v. Taylor, 583 F. Supp. 2d 923,

944-45 (E.D. Tenn. 2008).

       Neither the grief that the defendant’s family might feel if he is executed, nor

their preference that he be sentenced to life imprisonment, are valid mitigating

factors. Such testimony would constitute an impermissible argument against the

death penalty in general. Id. Further, the Court has already forbidden any witness

from stating their preference as to the punishment. (R.325, at 14). These mitigating

factors should be stricken.

       c. Proposed Factor 29 – Extensive history of alcoholism and/or substance
          abuse in the defendant’s extended family

       Whether or not members of the defendant’s extended family abused alcohol or

other substances has no bearing on the defendant’s background, record, or character, or

any other circumstance of the offense. 18 U.S.C. § 3592(a)(8); Lockett, 438 U.S. at 604. To

the extent that such evidence exists, its probative value is both speculative and

outweighed by the danger of confusing the issues or misleading the jury. 18 U.S.C.

§ 3593(c). This mitigating factor should be stricken as improper.

       d. Proposed Factors 34-37 – The defendant received insufficient assistance
          from the University of Illinois Counseling Center

       Whether or not certain employees of the University of Illinois Counseling Center

followed the protocol of the University of Illinois or Illinois state laws has no bearing on

the defendant’s background, record, or character, or any other circumstance of the

offense. 18 U.S.C. § 3592(a)(8); Lockett, 438 U.S. at 604. The United States has already

briefed this issue. (R.373.) The alleged negligence of a third party does not in any

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conceivable way “mitigate the defendant’s culpability.” Gabrion, 719 F.3d at 523

(citing Tennard, 542 U.S. at 286). The probative value of this evidence is both

speculative and outweighed by the danger of confusing the issues or misleading the

jury.18 U.S.C. § 3593(c).   This mitigating factor should be stricken as improper.

       e. Proposed Factor 48 – If not sentenced to death, the defendant will be
          sentenced to life imprisonment

       The fact that the jury has only two options in sentencing the defendant has no

bearing on the defendant’s background, record, or character, or any other circumstance

of the offense. 18 U.S.C. § 3592(a)(8); Lockett, 438 U.S. at 604. This statement of law is

properly included within the jury instructions; it is not a mitigating factor. The

probative value of including this statement as a mitigating factor is outweighed by the

danger of confusing the issues or misleading the jury. 18 U.S.C. § 3593(c). This

mitigating factor should be stricken as improper.

       f. Proposed Factor 51 – The penalty of life without the possibility of release is
          a severe sentence

       The subjective opinion of the severity of life imprisonment has no bearing on the

defendant’s background, record, or character, or any other circumstance of the offense.

18 U.S.C. § 3592(a)(8); Lockett, 438 U.S. at 604; United States v. Williams, No. CRIM. 06-

00079 JMS, 2014 WL 2436215, at *3 (D. Haw. May 30, 2014) (disallowing this mitigtor).

The defendant’s witness list does not include any witness that could provide knowing

testimony about this topic. Indeed, it would be impossible to provide such testimony

without discussing the conditions of confinement – a topic which the Seventh Circuit

has expressly forbidden as a mitigating factor. Johnson, 223 F.3d at 672-75. Moreover,

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the probative value of including this statement as a mitigating factor is outweighed by

the danger of confusing the issues or misleading the jury.18 U.S.C. § 3593(c). This

mitigating factor should be stricken as improper.

       g. Proposed Factor 52 – Mercy is appropriate 3

       The concept of mercy has no bearing on the defendant’s background, record, or

character, or any other circumstance of the offense. 18 U.S.C. § 3592(a)(8); Lockett, 438

U.S. at 604. This is not a mitigating factor; it is defense counsel’s argument. Including it

in the special verdict form would be inappropriate. Indeed, Courts of Appeal have

specifically held that the FDPA’s plain language does not authorize a jury to impose a

sentence of life imprisonment out of “mercy.” United States v. Caro, 597 F.3d 608, 632-33

(4th Cir. 2010); see also Johnson v. Texas, 509 U.S. 350, 371-372 (1993); United States v.

Allen, 247 F.3d 741, 781 (8th Cir. 2001), vacated on other grounds, 536 U.S. 953. It is unclear

what evidence will be presented to prove that “[u]nder all the facts and circumstances,

mercy is appropriate” in this case. To the extent that such evidence exists, its probative

value is both speculative and outweighed by the danger of confusing the issues or

misleading the jury. 18 U.S.C. § 3593(c). This mitigating factor should be stricken as

improper.

       h. Proposed Factor 53 – the defendant’s life is valuable

       The notion that “all lives are valuable” has no bearing on the defendant’s

background, record, or character, or any other circumstance of the offense. 18 U.S.C.



       3 The United States has previously referenced this issue with regard to proposed jury
instructions. (R.249).
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§ 3592(a)(8); Lockett, 438 U.S. at 604. This is not a mitigating factor; it is defense

counsel’s argument. It is unclear what evidence will be presented to prove that “[a]ll

lives are valuable, including [the defendant’s] life.” To the extent that such evidence

exists, its probative value is both speculative and outweighed by the danger of

confusing the issues or misleading the jury. 18 U.S.C. § 3593(c). Moreover, this proposed

mitigator should be stricken because it relates to the death penalty in general rather

than to this particular defendant. Johnson, 223 F.3d at 675. This mitigating factor

should be stricken as improper.

       i. Proposed Factor 54 – Executing the defendant will not undo the harm he
          caused

       The notion that executing the defendant will not bring Yingying Zhang back to

life has no bearing on the defendant’s background, record, or character, or any other

circumstance of the offense. 18 U.S.C. § 3592(a)(8); Lockett, 438 U.S. at 604. This is not a

mitigating factor; it is defense counsel’s argument. It is unclear what evidence will be

presented to prove this statement, but to the extent that such evidence exists, its

probative value is both speculative and outweighed by the danger of confusing the

issues or misleading the jury. 18 U.S.C. § 3593(c). Moreover, this proposed mitigator

should be stricken because it relates to the death penalty in general rather than to this

particular defendant. Johnson, 223 F.3d at 675. This mitigating factor should be

stricken as improper.




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2.     The Defendant Has Proposed Mitigating Factors That Must Be Stricken
       Pursuant to Federal Rule of Criminal Procedure 12.2(d)

       Federal Rule of Criminal Procedure 12.2(b)(2) requires advanced written notice if

the defendant intends to present expert testimony with regard to a “mental disease or

defect or any other mental condition” during the penalty phase of a capital trial. The

issues raised by the defendant in his proposed mitigating factors clearly address his

alleged mental disease, defect, or other mental conditions. See DIAGNOSTIC AND

STATISTICAL MANUAL OF MENTAL DISORDERS, FIFTH EDITION (“DSM-5”), at 131, 138, 164-

67 ; see also (R.180, at 13-14).

       Based on the defendant’s withdrawal (R.317), there is no Rule 12.2 notice in this

case. In the absence of a properly filed notice, the defendant is barred from presenting

expert testimony with regard to whether or not he had a mental disease, mental defect,

or other mental condition. FED. R. CRIM. P. 12.2(d); (R.373). Likewise, the defendant

should be prohibited from presenting such evidence through the opinion of unqualified

lay witnesses. (R.403). 4

       The defendant has proposed several mitigating factors which are improper in

light of his withdrawal of his Rule 12.2 notice. Each of these factors should be

dismissed.




       4In other contexts, the defendant has moved the Court in limine to preclude lay
witnesses from rendering opinions as to the defendant’s mental condition at various points in
time. (R.239, at 29-31, 33-37).
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   a. Proposed Factor 4, 5 – Alleged history of mental illness in the defendant’s
      parents’ families

       The defendant alleges a history of mental illness in the defendant’s parents’

families. As an initial matter, as noted above, the concept of “mitigation” does not

include alleged mental illnesses of persons other than the defendant. 18 U.S.C.

§ 3592(a)(8); Lockett, 438 U.S. at 604. Even if it did, the attenuation of such evidence

would cause its probative value to be outweighed by the danger of confusing the issues

or misleading the jury. 18 U.S.C. § 3593(c). Even if the evidence were allowed, the

defendant could not present it through either an expert witness or a lay witness. FED. R.

CRIM. P. 12.2(d); FRE 701, 702. This mitigating factor should be stricken as improper.

   b. Proposed Factor 15 – The defendant’s brain injury

       The defendant suggests that he suffered from brain injury, including

parasomnia, throughout his life. Parasomnia, night terrors, and nightmare disorders,

are mental diseases, mental defects, and mental conditions. DSM-5, at 361, 399-410.

The defendant has withdrawn his intention of presenting this evidence in mitigation

through an expert witness, and it would be improper for a lay witness to testify

regarding the defendant’s mental health diagnoses or treatments. FED. R. CRIM. P.

12.2(d); FRE 701, 702; (R.239, at 29-31, 33-37).

       Further, the defendant’s withdrawal precludes the United States from examining

the defendant and calling its own witnesses to rebut this evidence. Such rebuttal would

be critical, as it is possible that the defendant was misdiagnosed with depression and

anxiety – the differential diagnoses for such conditions include: alcohol-induced


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blackouts, malingering 5 or other voluntary behavior during wakefulness, or medication

or substance use. DSM-5, at 399-410. Allowing such unrebutted evidence or testimony

is improper. United States v. Buchbinder, 796 F.2d 910, 915 (7th Cir. 1986) (noting that

Rule 12.2(b) enables “the government to prepare for cross-examination of the

defendant’s expert witnesses and to present any rebuttal witnesses to counter the

defense expert’s testimony”).

   c. Proposed Factors 16-18 – The defendant suffered from depression and anxiety
      and was medicated for those ailments

       The defendant suggests that he has suffered from depression and anxiety

throughout his life. Depression and anxiety both constitute mental diseases, mental

defects, or mental conditions. DSM-5, at 155-234. The defendant has withdrawn his

intention of presenting this evidence in mitigation through an expert witness, and it

would be improper for a lay witness to testify regarding the defendant’s mental health

diagnoses or treatments. FED. R. CRIM. P. 12.2(d); FRE 701, 702; (R.239, at 29-31, 33-37).

       Further, the defendant’s withdrawal precludes the United States from examining

the defendant and calling its own witnesses to rebut this evidence. Such rebuttal would

be critical, as it is possible that the defendant was misdiagnosed with depression and

anxiety – the differential diagnoses for such conditions include: ADHD 6 and personality




       5 “Malingering is the purposeful production of falsely or grossly exaggerated physical
and/or psychological symptoms with the goal of receiving a reward.” https://www.
psychologytoday.com/us/conditions/malingering. (last visited June 26, 2019).

       The defendant specifically sought to deny the United States’ ability to test the
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defendant for ADHD. (R.315).
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disorders. DSM-5, at 159, 167, 171, 194-95, 207. Allowing such unrebutted evidence or

testimony is improper. Buchbinder, 796 F.2d at 915.

       The defendant made the strategic decision not to present this information as

mitigation, and he should not be permitted to end-run the procedural rules to prevent

effective rebuttal of his allegation. These proposed mitigating factors should be

stricken.

   d. Proposed Factors 22-28 – The defendant sought psychiatric treatment and took
      prescribed medication for depression and anxiety

       The defendant suggests that he has sought psychiatric treatment and took

prescribed medication for depression and anxiety. Depression and anxiety both

constitute mental diseases, mental defects, or mental conditions. DSM-5, at 155-234.

The defendant has withdrawn his intention of presenting this evidence in mitigation

through an expert witness, and it would be improper for a lay witness to testify

regarding the defendant’s mental health diagnoses or treatments. FED. R. CRIM. P.

12.2(d); FRE 701, 702; (R.239, at 29-31, 33-37).

       Further, the defendant’s withdrawal precludes the United States from examining

the defendant and calling its own witnesses to rebut this evidence. Such rebuttal would

be critical, as it is possible that the defendant was misdiagnosed with depression and

anxiety – the differential diagnoses for such conditions include: ADHD and personality

disorders. DSM-5, at 159, 167, 171, 194-95, 207. It is also possible that the defendant

was feigning mental illness in order to gain access to prescription medication that he

elsewhere admits to abusing. DSM-5, at 324-26 (detailing Factitious Disorder, in which


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individuals falsify mental or physical illnesses, including false reporting of suicidal

ideation, to gain attention).

       Allowing such unrebutted evidence or testimony is improper. Buchbinder, 796

F.2d at 915 (noting that Rule 12.2(b) enables “the government to prepare for cross-

examination of the defendant’s expert witnesses and to present any rebuttal witnesses

to counter the defense expert’s testimony.”) The defendant made the strategic decision

not to present this information as mitigation, and he should not be permitted to end-run

the procedural rules to prevent effective rebuttal of his allegation. These proposed

mitigating factors should be stricken.

   e. Proposed Factor 30 – The defendant abused alcohol and prescription drugs in
      an attempt to self-medicate and control his psychological problems

       The defendant next contends that he abused alcohol and prescription drugs to

“self-medicate” for psychological problems. This mitigator is improper for two reasons.

       First, it presupposes that the defendant had psychological problems which

required medication. The defendant has withdrawn his intention of presenting this

evidence in mitigation through an expert witness, and it would be improper for a lay

witness to testify regarding the defendant’s mental health diagnoses or treatments. FED.

R. CRIM. P. 12.2(d); FRE 701, 702; (R.239, at 29-31, 33-37). Further, the defendant’s

withdrawal precludes the United States from examining the defendant and calling its

own witnesses to rebut this evidence. Such rebuttal would be critical, as it is possible

that the defendant was either misdiagnosed with depression and anxiety or feigning

those symptoms. DSM-5, at 159, 167, 171, 194-95, 207, 324-26.


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       Moreover, this statement constitutes defense counsel’s argument and is,

therefore, improper as a mitigating factor. Further, it would be impossible for anyone

other than the defendant to testify that he was “self-medicating,” and such testimony

would be grossly inconsistent with the defendant’s statements about drinking which

are already in evidence. Such testimony, coming from anyone other than the defendant,

would necessarily require substantial speculation. As such, the probative value of that

testimony would be outweighed by the danger of confusing the issues or misleading

the jury. 18 U.S.C. § 3593(c). This mitigating factor should be stricken as improper.

   f. Proposed Factors 34-37 – The defendant received insufficient assistance from
      the University of Illinois Counseling Center

       The defendant proposes numerous mitigating factors regarding the treatment

that he alleges should have been provided by the University of Illinois Counseling

Center. These mitigators, and the evidence that the defendant proposes to offer in

support of them, should be stricken pursuant to Rule 12.2(d). (R.373).

       As noted in the United States’ other pleadings, mental health treatment is not

provided in a vacuum. A determination that the defendant should have received more

extensive mental health treatment, would require the defendant to prove that he was

actually suffering from mental illness at the time he sought the treatment. Had the

defendant not withdrawn his Rule 12.2 notice, he would be free to call expert witnesses

to testify that he suffered from suicidal ideation and that the fact that he did not receive

more extensive mental health treatment weighed in favor of a life sentence rather than

the death penalty. FED. R. CRIM. P. 12.2(b)(2). As the defendant has pointed out, lay


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opinion testimony regarding mental health diagnoses is improper. (R.239, at 29-31, 33-

37).

       Had the defendant not withdrawn his Rule 12.2 notice, the United States would

have the benefit of its own expert witnesses who could have examined the defendant

and testified in rebuttal to such claims. FED. R. CRIM. P. 12.2(c); Buchbinder, 796 F.2d at

915; see also United States v. Johnson, 362 F. Supp. 2d 1043, 1089 (N.D. Iowa 2005) (“The

defendant could not present expert testimony on his mental condition and yet refuse,

on Fifth Amendment grounds, to answer questions put to him by the government’s

experts.”); United States v. Byers, 740 F.2d 1104, 1153-54 n.95 (D.C. Cir. 1984) (“Those

federal appellate courts that have considered the issue have held that the defendant

who refuses to submit to a compelled examination is barred from introducing

psychiatric testimony based on interviews with his own experts.”).

       The defendant knowingly and voluntarily withdrew his Rule 12.2 notice, and he

did so for tactical reasons – namely to avoid having to participate in a rebuttal

examination. (R.317). Allowing the defendant to present evidence in support of this

mitigating factor would permit the defendant to enjoy the benefit of presenting Rule

12.2 evidence without allowing for proper rebuttal as provided by the rule. FED. R.

CRIM. P. 12.2(d); Buchbinder, 796 F.2d at 915. This mitigating factor should be stricken as

improper.




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3.      The Defendant Has Proposed Mitigating Factors Which Exceed the Court’s In
        Limine Ruling on Execution Impact Evidence

     a. Proposed Factors 10, 12, 14 – the defendant’s family will experience grief if he
        is executed

        The United States moved the Court in limine to preclude the presentation of

execution impact evidence as mitigation. (R. 248). The Court ruled that it would allow

the defendant’s family to testify about his background, but would not allow testimony

about their desired sentence. (R.325, at 13).

        Execution impact evidence is routinely excluded because it amounts to nothing

more than a plea for mercy and an opinion about the appropriate sentence. See United

States v. Taylor, 583 F. Supp. 2d 923, 944-45 (E.D. Tenn. 2008); United States v. Umana,

Case No. 3:08-cr-134, 2010 WL 3023498 *15 (W.D.N.C. 2010). As the Seventh Circuit has

held, “[a] mitigating factor is a factor arguing against sentencing this defendant to

death; it is not an argument against the death penalty in general.” Johnson, 223 F.3d

at 675; see also United States v. Troya, 733 F.3d 1125, 1129 (11th Cir. 2013); United States v.

Hager, 721 F.3d 167, 195 (4th Cir. 2013); United States v. Snarr, 704 F.3d 368, 402 (5th Cir.

2013); Stenson v. Lambert, 504 F.3d 873, 892 (9th Cir. 2007); Jackson v. Dretke, 450 F.3d 614,

617-18 (5th Cir. 2006).

        The defendant offers other mitigating factors regarding his background that

would be relevant to what the Court has allowed. Proposed factors 10, 12, and 14, on

the other hand, merely address the feeling and preferred outcome of the defendant’s

family. As such, they should be stricken.



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4.     The Defendant Has Proposed Redundant Mitigating Factors That Should Be
       Combined

       Though the defendant is not limited in the number of mitigating factors that he

can present – assuming they meet the standards set forth by the Supreme Court –

Courts routinely require the defendant to combine related facts into a single mitigating

factor. See, e.g., United States v. Wilson, 493 F. Supp. 2d 520, 523 (E.D.N.Y. 2007). As

Judge Garaufis noted, “Wilson seems to have offered his mitigating factors in the spirit

of an arms race. Many of the “factors” offered by Wilson are facts, not factors. The

Government’s list of aggravating factors presents a useful contrast.” Id. Similarly, the

defendant has enumerated multiple mitigating factors that can, and should, be

combined into a single mitigating factor.

       a. Proposed Factors 2-3 – The defendant’s mother suffered from mental illness
          and alcoholism during his childhood

       The defendant proposes two mitigating factors related to allegations that his

mother suffered from mental illness and alcoholism during his childhood. The United

States concedes that this mitigating factor is relevant to the extent that it affected the

defendant. 18 U.S.C. § 3592(a)(8); Lockett, 438 U.S. at 604. Beyond that affect, however,

the probative value of such evidence would be be outweighed by the danger of

confusing the issues or misleading the jury. 18 U.S.C. § 3593(c). Given the similarity in

nature between proposed mitigating factors 2 and 3, the United States submits that they

should be combined into a single mitigating factor.




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       b. Proposed Factors 39-47 – The defendants behavior while during pre-trial
          confinement

       The defendant proposes eight mitigating factors related to allegations that he has

been a model inmate during pre-trial detention. The United States concedes that these

mitigating factors are relevant to the defendant’s character or record. Given the

similarity in nature between proposed mitigating factors 39-47, the United States

submits that they should be combined into a single mitigating factor.

                                          CONCLUSION

       The defendant has proposed 54 mitigating factors for the penalty phase. The

following proposed mitigating factors should be stricken as improper: 4, 5, 9, 10, 11, 12,

13, 14, 15, 16, 17, 18, 22, 23, 24, 25, 26, 27, 28, 29, 30, 34, 35, 36, 37, 38, 48, 51, 52, 53, 54.

The following proposed mitigating factors should be combined: 2-3, 39-47.




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Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I hereby certify that on June 26, 2019, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing

to counsel of record.



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